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Arden J. Olson, OSB #870704
arden.j.olson@harrang.com
HARRANG LONG GARY RUDNICK P.C
360 East 10th Avenue, Suite 300
Eugene, Oregon 97401
Telephone:    541-485-0220
Facsimile:    541-686-6564

Of Attorneys for Plaintiff




                             UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

ALISON GARY, an individual,                          Case No. 3:17-cv-1414-HZ

               Plaintiff,                           MOTION TO REQUIRE THAT
                                                    ADMINISTRATIVE RECORD BE
       vs.                                          FILED UNDER SEAL

UNUM LIFE INSURANCE COMPANY OF                      (Oral Argument Requested)
AMERICA, a Maine corporation, as
administrator of the Dickstein Shapiro LLP
Group Long Term Disability Plan,

               Defendant.



                                   LR 7-1 CERTIFICATION

       The undersigned counsel certifies pursuant to LR 7-1 that the parties made a good faith

effort by telephone conference and correspondence to resolve each of the matters presented by

this motion but were unable to do so.

                                            MOTION

       Plaintiff A.G. hereby moves pursuant to Fed. R. Civ. P. 5.2(d) for an order requiring that,

whenever the administrative record in this matter has been settled, it be filed under seal, and that

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the declaration of Unum’s counsel [Doc 20], already filed in this matter with Plaintiff’s

identifying information redacted and containing significant portions of the administrative record,

similarly be sealed now that this Court has required Plaintiff to place her name into the record.

                                          ARGUMENT

       I.       UNUM HAS PREVIOUSLY RECOGNIZED IN NUMEROUS
                CASES THAT FILING UNDER SEAL IS AN APPROPRIATE
                MEANS TO PROTECT SENSITIVE MEDICAL INFORMATION
                FROM DISCLOSURE.
       In Petrusich v. Unum Life Ins. Co. of America, 984 F. Supp. 2d 1112 (2013), plaintiff was

a long-term disability claimant diagnosed with a number of mental conditions whose claim

Unum had denied.       The court noted in that opinion that the parties “filed under seal the

Stipulated Administrative Record.” Id. at 1114. Similarly, Unum has in numerous other cases

around the country stipulated to filing the record under seal to protect the confidentiality of

beneficiaries’ medical information. See, e.g., Bilyeu v. Morgan Stanley Long-Term Disability

Plan [& First Unum Life Ins. Co.,] 2015 WL 4134447 *2 n.3 (D. Ariz. 2015) (“The parties

stipulated to filing the administrative record under seal because a significant portion of the record

contained personal identifiers requiring redaction or detailed personal medical information”);

Baird v. Unum Group, 903 F. Supp. 2d 560, 561 (S.D. Ohio 2012) (“Unum filed the

administrative record under seal”); Boyles v. American Heritage Life Ins. Co., 226 F. Supp. 3d

497, 499 (W.D. Pa. 2016) (“the administrative records of AHL and Unum [were] filed under

seal”); Holifield v. Unum Life Ins. Co. of America, 640 F. Supp. 2d 1224, 1227 (C.D. Cal. 2009)

(Unum records were “filed with the Court under seal”); Allison v. Unum Life Ins. Co., 2005 WL

1457636 at *16 (E.D.N.Y. 2005) (“administrative record filed by the defendants under seal”).

       II.      UNUM CAN POINT TO NO DISTINCTION BETWEEN THIS
                CASE AND THE MANY OTHERS WHERE IT AGREED TO
                FILING OF THE ADMINISTRATIVE RECORD UNDER SEAL
                THAT IS NOT ARBITRARY AND CAPRICIOUS.
       The cardinal duty of an ERISA claims fiduciary is to administer claims in a manner that

is not arbitrary and capricious, so Unum should be required to treat similarly-situated claimants

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similarly. See Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 110, 109 S. Ct. 948, 103 L.

Ed. 2d 80 (1989) (“ERISA abounds with the language and terminology of trust law” and ERISA

administrators are “fiduciaries”). The basis for Plaintiff’s motion that the administrative record

be filed under seal in this case is that the case turns on a careful examination of the details of

Plaintiff’s sensitive physical and cognitive medical information, both her own medical and

neuropsychological records and Unum’s treatment of that medical and neuropsychological

information. The urgency of having that information filed under seal has, of course, been greatly

amplified by this Court’s ruling that Plaintiff be required to reveal her name on the pleadings, so

that means by which to protect her from the potential adverse impacts of publicly filing these

sensitive records is now lost to Plaintiff.

         The cases cited above involved similarly sensitive medical and/or psychological

information. See Petrusich v. Unum Life Ins. Co. of America, 984 F. Supp. 2d at 1119 (records

of “anxiety, depression, and PTSD”); Bilyeu v. Morgan Stanley Long-Term Disability Plan [&

First Unum Life Ins. Co.,] 2015 WL at *2 (“Behçet’s [disease], [f]atigue, [and a]nxiety disorder”

complicated by autoimmune condition”); Baird v. Unum Group, 903 F. Supp. 2d at 561 (record

sealed even though the “reason [Baird’s] benefits were terminated had nothing to do with her

medical condition”); Boyles v. American Heritage Life Ins. Co., 226 F. Supp. 3d at 501 (back

problems and multiple surgeries); Holifield v. Unum Life Ins. Co. of America, 640 F. Supp. 2d at

1227-28 (“headaches, severe exhaustion, cognitive dysfunction, and decreased coping skills”);

Allison v. Unum Life Ins. Co., 2005 WL 1457636 at *10 (“continuing and deteriorating medical

condition”).

         As a threshold matter, therefore, Unum should be required to explain why its refusal to

stipulate to filing under seal in this matter is not simply arbitrary when compared to those other

cases.   Plaintiff submits that there is no justifiable distinction between Unum’s stipulations in

those cases and Unum’s refusal to stipulate here.



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       III.    WHEN SENSITIVE MEDICAL INFORMATION WARRANTS
               PROTECTION FROM PUBLIC DISCLOSURE, FILING AN ERISA
               ADMINISTRATIVE RECORD UNDER SEAL IS APPROPRIATE.
       The considerations which we cited to the Court in our Response to Defendant’s Motion to

Compel Plaintiff to Comply with FRCP 10(A) [Doc 15] also support filing Plaintiff’s sensitive

medical information under seal, and we incorporate them by reference.            This nation since

adoption of the Health Insurance Portability and Access Act of 1996 (“HIPAA”) has embraced a

strong federal policy of privacy in medical records, and Plaintiff should not be required to forfeit

that expectation of privacy because Unum improvidently denied her disability claim in this case.

See 42 U.S.C. §§ 1320d - 1320d-9; 42 C.F.R. §§ 160.102 et seq.

       Sealing the administrative record is a routine means to protect that privacy principle in

federal ERISA cases. See, e.g., Eugene S. v. Horizon Blue Cross Blue Shield of New Jersey, 663

F.3d 1124, 1135-36 (3rd Cir. 2011) (“Nearly every document in the volume at issue includes the

name of, and/or personal and private medical information relating to Mr. S’s minor son [and] any

document that does not contain such information would be of little use without reference to

documents which do contain such information” so motion to seal administrative record granted).

Like the numerous cases noted above where Unum stipulated to filing under seal, the decisions

involving sealed medical records do not always contain lengthy reasoning. See, e.g., Popovich v.

Metropolitan Life Ins. Co., 2017 WL 6546920 *2 n.2 (C.D. Cal. 2017) (LTD claim involving

heart condition noting that administrative record was filed under seal); Mattingly v. Humana

Health Plan, 2016 WL 9344095 *3 (S.D. Ohio 2016) (unsealing removed case file that had

previously been entirely sealed in state court, but “[i]n order to protect the confidentiality of

Plaintiffs’ medical records, Defendants shall file the Administrative Record under seal”).

       IV.     PLAINTIFF SHOULD BE PERMITTED, IF THE COURT WANTS
               TO WEIGH THE EXTENT OF PREJUDICE TO PLAINTIFF
               FROM THE SPECIFIC RECORDS IN THIS CASE, TO SUBMIT
               THE INFORMATION IN CAMERA WITH HER REPLY ON THIS
               MOTION.
       This Court already has before it, attached to the prior declaration of Unum’s counsel

[Doc 20], Plaintiff’s submissions to Unum upon which Unum reversed its initial denial. We are
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asking that these records now be sealed, and therefore do not want extensively to reference them

in this motion. But the Court can see in that filing the kinds of sensitive medical information

which absent the relief Plaintiff is seeking here will be permanently publicly associated with her.

       One of the difficulties of fully informing the Court of the extent of prejudice to Plaintiff

that would occur by public filing of the administrative record is that disclosure of that

information in this motion would undermine the very confidentiality Plaintiff is seeking. For

that reason, we have described the problem generally, but request the Court’s leave to point

specifically to the key examples of the medical and psychological information Plaintiff seeks to

protect, under seal, in connection with her reply on this motion.

                                         CONCLUSION

       Unum should be required to file the administrative record in this matter under seal,

consistent with its routine prior practice in the cases cited above, and this Court should order that

the Declaration of Robert B. Miller [Doc 20] be sealed.

       DATED this 21st day of February, 2018.

                                          HARRANG LONG GARY RUDNICK P.C.


                                          By:        s/ Arden J. Olson
                                                Arden J. Olson, OSB #870704
                                                arden.j.olson@harrang.com
                                                Telephone: 541-485-0220
                                                Facsimile: 541-686-6564

                                                Of Attorneys for Plaintiff




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                                  CERTIFICATE OF SERVICE

        I certify that on February 21, 2018, I served or caused to be served a true and complete

copy of the foregoing MOTION TO REQUIRE THAT ADMINISTRATIVE RECORD BE
FILED UNDER SEAL on the party or parties listed below as follows:

                    Via CM / ECF Filing
                    Via First Class Mail, Postage Prepaid
                    Via Email
                    Via Personal Delivery


Robert B. Miller
Kilmer Voorhees & Lauarick PC
732 NW 19th Ave.
Portland, OR 97209
bobmiller@kilmerlaw.com

Of Attorneys for Defendant

                                             HARRANG LONG GARY RUDNICK P.C.


                                             By:        s/ Arden J. Olson
                                                   Arden J. Olson, OSB #870704
                                                   arden.j.olson@harrang.com
                                                   Telephone: 541-485-0220
                                                   Facsimile: 541-686-6564
                                                   Of Attorneys for Plaintiff
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